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                                                                        December 3.21)21

                                                                                     LETTIIR BRIEF'

   BY   ELECrrtSIIe TLINGJEICf )
   Hon. Ann Mzuie Donio, U.S.M.J.
   United States District Court for the District of New Jersey
   Mitchell H. Clohen U.S. Courthouse, Room 2010
   1 John F. Gerry Plaza,4'n & Cooper Streets
   Camden, New Jersey 0Bl0l

            Re:      Audra Capps, et al, v. Joseph Dixon, et al.
                     Case No.: I : 1 9-cv-1 2OO2-RMB-AMD

                     Tanika Joyce, et al v. Joseph Dixon, et al.
                     Case No.: I :20-cv-01 I 1 8- RI4B-AMD

   Dear Judge Donio:

                                            I.    INT'RODUCTION

            On January 17,2020, forrrLer    Millvill: police officer,                Defbndant Joseph Dtixon,, was placed

   on two years of probation and givr:n a suspenLded county                   jail   sentence following his guLilty pleas to

   two third-degree aggravated assault charges brought by the New Jersey Attorney General's Office

   of Public Integrity and Accountability ("OPIA"). A copy of Dixon's Judgment of Conviction is

   attached as Exhibit     "A." Dixon's twJ criminal           convictions stem from the same arssauh.ive conduct
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   incidents against two women, Plaintiffs Audra Capps and Tanika Joyce, that gave rise, along with

   conduct by other Defendants, to these lawsuits. A copy of the transcript of Dixon's November 20,

   2019 pleacolloquy in Superior Court, Cumberland County, is attached as Exhibiit o'B." f'o harve a

   police officer with criminal convicti,cns direr;tly tied to two victims, who are then the plaintiffs in

   a   civil action against him, is arate srtate of aLffairs. Yet in spite of Defendant Dixon's precarious

   position in this litigation, he has -- during the pendency of these civil actions       compounded matters
                                                                                       -
   by committing evidence spoliation, fbr which he now must be held accountable.

                                             il.    BACKGROUND

            A. Dixon     Was on Notice of Potential Litisation as Early as May of 2lll8.

            Plaintiff Capps and her husband, Plaintiff Douglas Robert Gibson, Jr., first placed Dixon and

   others on notice of potential litigat.ion when they served a New Jersey tort claim nLotice c'n May 25,

   2018, following Dixon's assault on Capps on. February 25,2018. A copy of the Capps;lt'ort Cltaim

   Notice is attached to the Cerlificatjion of Counsel as Exhibit   "C." Plaintiffs    Capps and (3:ibson lhled

   their original Complaint in this Court on May 7,2019. See Doc. No.            2.    The Court's Order: for

   Scheduling Conference         filed on July 31,2019 mentioned the topic of discoveqy of              dilgital

   information, and is attached to the: C,ortification of Counsel as Exhibit "D."

            B. Plaintiffs Specifically    So,ught    EIiI From Dixon As Early   as    Octobrr of Zli,ll9,

            Plaintiffs in the   CuppS. case served   written discovery requests upon Dixon on October 15,

   2019. The document requests to lDi>lon contained paragraphs seeking the following calegories of

   information:

                    l.   All posts and messages crf any variety, from January 1,2009 to thLe pres;ent,
                    whether such acco'unt(s) is/are still active or closed, whether set to 'lpublic" or
                    "private" or like de:siplnation, to accounts created by. opened by, controllLed by you
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                  and/or associated 'with you in any way for the categories of sociall rned.ia platfurms
                  set forth in Request lrtro. 2 below.


                  2. Access to allour Pllaintiffs to inspect and/or have reproduced,    onL   a date and at a
                  location agreed to by allparties, all physical and electronic information, includinll but
                  not limited to, electronic da.ta storage, cellular telephorre data, digital        imerges,
                  computer images, cache memory, searchable data, ernails, text messarges, any and all
                  online social or work related rvebsites, entries on social networking sites (including
                  but not limited to, .Facebook,'Iwitter, SnapChat, Instagram, MySpa,ce, etc.), closed
                  circuit TV footagesr, surveillarLce audio and video footages/recordings, and any c,ther
                  information and/or dala and/or things and/or documents which may ber relevant to, any
              '   claim or defense in this action. This demand inclurles any and all such evidence
                  created up to the date this lawsuit is completely concluded.

                                                  rf**


                  24. All documents re-ilecting   any communications, police department action, notes
                  made, documents creelted, emails, text messages sent and/or receivecl, and,lor sgcial
                  media messages or postings sent or made by you, and/or which you were invollved
                  in response to, or as a result ol, any repofter's inquiry or questioning in connection
                  with the Newark Star LedgenNJ Advance MediaA{J.com investigal.ion referred to
                  in paragraphs 111-l3ji of the Complaint.

                                                  **d<



                  35. Documents evidencing all communications you had with        Defiendant Oflicer
                  Orndorf andlor any ttLird-persons regarding the events and allegations described in
                  the Complaint.

                  36.  Documents evid,encing all communications you had with Clhief Farab,ella
                  regarding the events and allegations described in the Complaint.

                  37. Documents evide.ncing allt communications you had with any otXrer membe,r of
                  theMillville Police De:partmerLt regarding the events and allegations described irLthe
                  Complaint.

  A copy of the October 15,2019     letter: transmitting written discovery requests in the Capps cas;e is

  attached as Exhibit'oE" to the Certification of'Counsel. Plaintiffs' Interrogatories to Dixon, which

  were served at the same time, additionally co.ntained the following discovery request:
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                     25. Identify all non-privileged communications you have initiated, received, arLd/or
                     were copied on relating to the subject matter set forth in the Complaint, and identify
                     all documents relarting to such communications.

   Following   a   claim of non-receipt of I'laintiffs' October 15,2019 discovery requests by one or rnore

   of the Defendants,r Plaintiffs re-sent them orLJanuary 28,2020. Copies of email communications

   to this effect are attached as Exhibit '"F" to the certification of courrsel.

           In addition, and by way of'context for this motion, Plaintiff Capps's and Gibson's Second

   Amended Complaint filed Septemberi 16, 2020 contains, among other things, the following details:

                     175. During his employment'with the Millville Police Department, I)ixon received
                     discipline or counseling for, among other things, not properly submitting evidcnce
                     and for missing couft proceedlLngs. But when it came to incidents involving the use
                     of excessive force as they were occurring, and as Dix.on was filling out his 80 IJOF
                     forms along the way, Defendarrt Chief Farabella and the other individual Supervirsory
                     Defendants had his back, and failed to act in the face of mounting rlocumentary and
                     video evidence that Dixon was a problem waiting to happen.

                      176. Moreover, upon informration and belief, the Supervisory Defendants named
                     herein either failed to notice or looked the other way when, as NJ.com reporled in
                     connection with its series called The Force Repor! in late 2018, Dixon posted
                     thoughts and mem,es to his public Facebook account to defend how other pc,lice
                     officers use force, and to disparage critics of police tactics.

                     177. Specifically,        according to emails from an NJ.com reporter to Defendant
                                         'ancl
                     Chief Farabella seekirrg comnrent, Defendant Dixon allegedly made statements on
                     Facebook about police, force, about his concern for Islam and for Muslim immigrants
                     destroying the United States. Additionally, and according to this ernail
                     communication, Dixon in 201i5 posted a video depicting a peacefun arrest in Florida
                     with the statement: "You donot get shot or'assaultecl'when you shut your mouth
                     and use your ears and complyo' (bold added).

                      178. Upon informatiorn and bel.ief, and as further reported by NJ.corn, approximately
                     three weeks after NJ.com reached out to Dixon about his posts, the privacy settings
                     on Dixon's Facebook account changed, and the posts are no longer visible.




          'To the extent any of the parties claimed non-receipt of the October 15,2019 discovery
  requests, such claim is countered by the record of email transmissior:r of that date.
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   Capps Second Am. Cornpl., pars. 175-178, Doc. No. 58 (bold in           original). While the artioles from

   NJ.com's "Force Report" series came out in or about December             2Crl   8, Dixon was clearh/ alr,tady

   deemed to be on notice of potential litigation as a result of Plaintiffsr'      filing of a J'ort Clairn Notice

   several months earlier.

             C.      Dixon Obstructs lDiscovery.

             In his responses to Plaintiffs' discovery requests in the   Joyce2    matter, which were simililr to

   those served in the Capps case, Dixorn provided little in the way of ar:tual answers and infbrmation.

   Copies of Dixon's undated Answers to Interrogatories and Responses to Docurnent Reqruests; are

   attached to the Certification      of   Clounsel as Exhibits   "G" and "H." In responsu to a number of

   discovery deficiencies, Plaintiffs sentl Defendants a lengthy letter on or about July 28, 2021. V/hat

   followed were letters back and forlh, telephorLe conferences with the Court, and the entry of various

   Orders. There was some agreernent on thrl production of documents, reached primarily 'with

   Defendants other than Dixon.

             In response to these events, Dixon submitted a response on September 8, 2021, and wrote

   to the Court on the same date. Copies of these documents are attached to the Certificration of

   Counsel as Exhibit      "I."     Howerrer,, Dixon's September       8, 2021 supplemental response was

   uncertified. Following    a   telephone conferencer, the Court issued an Order dated September 29,21)21,

   directing Dixon to "revise his responses to Plaintiffs' interrogatories and document requesls to

   clarifu whether he has conducted sear,lhes for the requested documents and no such documents e:xist

   or whether no search was conducted." A cop;r of the Court's September 29,2021Order is attac:hed

   as   Exhibit "J." 'fhe Court, in the samr: Order, granted Plaintiffs leave to take Dixon's deposition on
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   "all   issues of ESI and social media as set forth on the record, without prejudice to            plaintiffs, right

   to depose Defendant Dixon at a later date on other issues in these cieses , . . ."          ]i.
             Prior to his ESI deposition, lDixon submitted a "supplemental Certification to Discovery

   Responses" on October 13,2021, a copy            of which is attached to the Certification of Counsel                 as

   Exhibit   "K." Dixon's ESI deposilion      thereafter took place on Octotrer     21   ,202L, andthe testirnony

   adduced from Dixon     will   be discusse,J in greater detail   below. As a rrlsult of   a subsequent telephone


   conference on November 17,2021, the Court issued an Order whiclh, inter alia, direcrted Irlaintiffs

   to file any motion for the failure to preserve ESI no later than Dec,ember 3,2021.                 ;\   copy   oJ:   the

   Court's November 17,2021Order is attachecl as Exhibit             "L."   That l\ovember 17.20'21Order also

   directed Defendants to produce all outstandinl3 documents and ESI no later: than DtecernLber 15,2tJ21                  .




             D.     Dixon's October 21.2021 Dreposition Reveals ESI Spoliation,

             Prior to the day of his ESI deposition, October 21,2021, Dixon was aware that he wes to give

   a deposition on the issues    of social rrLedia and ESI. See 10121121 Dixon Dep. at 13:59, attachr:d                 as


   Exhibit "M" to the Certification of Counsel. Dixon was further aware his deposition would be taken

   on those issues at the time he signed his October 13,2021Supplemental Certi.hcation, discussed

   above. Id. at l3:24-141,14:10-17,15:15-19. As placed on the record in the depositiorr, Dixon

   certified in that Supplemental Certific;ation, among otherthings, that "[t]o the bestiofrny knowledge,

   I have not purposely or intention4!.lly3Lltered or: destroyed any materials sought        in Platn!_ffs'_Beeluest

   for Production of Documents" (emphasis added). A comparison of Plaintiffs' specific disco'very

   requests described above, and     Dixon's deposition testimony discussed in more detail below, reveals

   that Dixon's cerlification was false.
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               After initially stating that tre turned in his iPhone l0 for an iPhone 13 in2020,id. at I 7:3-10,

   Dixon testified that he traded in tris iPhone l0 for an iPhone l3 at the beginning of the month of

   October 2021 ("October, this month'"), id. at 119:23-20:10. The timing of this phone turn-in not long

   after the Court's September 29,2"021Order d:irecting the taking of Diixon's ESI deposition gavr: rise

   to further questions at that depc,sition. Thisi was particularly the case when one considered. two

   October 13,2021public Twitter posts by Dixon's wife, one of which included the use of the ,uvord

   "wipe" in reference to a phone, w,trile the other post indicated that [)ixon's phone was also                  tuurned

   in.   See   l0l13l2l Darbi Dixon T'*iitter posts, attached to the Certification of Counsel         as   Exhibit "N."

   On this subject, Dixon said that hisi wife turned in her phone to an         AT&T store between October l0-

   l3th, while he turned in his phone approximately one week earlier. l0l21l2l Dixon Dep. at 2:\:14-

   17,24:3-ll. Dixon          said that tre and his w'ife both turned in their phones because.'o'We.were

   available for upgrade." Id. at 27 :10- t I .

               Importantly, and with resperct   1.o   Dixon's turn-in ofhis iPhone l0 for an   iPhLone 13, he   testified

   under oath that "everlthing" was preserved. \d. at24:23-25:2. "...There's a thing called the clo,ud,"

   he said,    "[i]t just transfers it over to ttLe new phone." The     data from   I)ixon's old iPhone 10 - whictr

   be believed he had in 2018 -- is available to him and can be accessed on his neu' phone, according;


   to this testimony. Id. at 25:8-15,|Zil:3-4. When Dixon was asked whether               "all of the records of'text

   message history" were preserved, he nesponded, "Whatever was on the 10,                 yes." ]g!.   aL25:23-21.6:1.

   (Later testimony showed that this was not exaLctly the case.) If a search was done of the'ocloud" ot:

   on his current iPhone 13, text messages would be able to be recovered. Id. at26:2-5; see also !1L arl

   45:12-16. And from the time the lawsuit was filed the only phone Dixon had, untilhe turned in his;

  phone in October, was his iPhone 10.                Id. at33:3-9.
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           When asked how many contacts he had of employees who rvorked for the Millville police

   Department, Dixon responded tha.t there were "[t]oo many to name" and "[p]retty much the vrhole

   department." Id. aI33:15-35:4. l'his included co-defendant Bryan Orndorf (who was in,volved in

   the Audra Capps arrest on Irebruary 25,2018), non-party Officer Albert Chard (who was involverj

   in the Tanika Joyce arrest on Mlarch 24,2018), and some of the previously named Supervisory

   Defendants. Id. at 34:3-6,41:15-412i22. While Dixon claimed that, "to the best of my knowle<lge"

   none of the texts he received frorn other members of the       Millville Police Department related              t<r


   investigations or cases he was worrking on, he was "sure" that he was texted by co-workers.                 ]1J. at


   44:9-13, 43:18-44:3.

          In his ESI deposition, Dixon also agreed that the Capps lawsuit was filed in             earl,yz   May of

   2019 ("sounds about right"). Id. art32:11-20., However, he testifiedlthat since the case starterll, he

   deleted text message history:


                  Q.   Since this castf.slarted. let's sa), in or about May   I '1   of 2019. did you ever    dq:lett1
                  any text message    bb1$4
                  A. Yes.
                  Q. Okay. Which      t,ext message histories did you delete?
                  A. Old ones.
                  Q. Old ones from'whom?
                  A. Anybody.
                  Q. Did that anybocly include rnembers of the Millville Police Deparlment?
                  A. I do not recall.
                                                   ***
                  Q. As you sit here today,  do I'ou know whether you still have text message hir;tory
                  from, let's say, Sergeant Redden?
                  A. I do not believe so.
                  Q. How about Olfiicer Orndorfl
                  A. I do not believe so.
                  Q. Do you still have any text message history to or from Albert Chard?
                  A. I'm not sure.
                  Q. How about any text message history involving an Offrcer Runlkle?
                  A. I don't believe r;o.
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                   Q. Is it possible    tlhat you deleted some text messages to and from other_Millville
                         ce ljepaftment employeesi tiom
                                                      from Mav
                                                           May 1"-
                                                                I ". 2019
                                                                     2    to the present?
                   A.   It is pogsible.
                   Q. As you sit here today, do'you know which conversations you           deleted?
                   A. I do not.
                   Q. At the tirne thattthe lawSuit was filed in or about lVIa), 1't of 2019. were-you_ever
                   aware of the need to preserlle electronic informationf
                   A. I was not.
                   Q. At any time sirrce the lalarsuit was filed" are you aware generally of th5: neg:d to
                   preserve electronic inform4tion?
                   A. I am now.
                   Q. When did )'ou lbecome       Aware?
                   A. When the sociaLl media Wers ordered.
                   Q. And what's )'our understanding of when the social media was orderedll
                   A. I believe you said Septemlber 30'h.
                   Q. Okay.    So   just r:ecently?
                   A. Yes.
                   Q. And prior to September        29th or 30'h, which is, I believe, the dates [si,c] of this
                   Order, prior to that date, is it your testimony that you were not aware that you had to
                   preserve electronic inlbrmation?
                   A. I believe so.
                   a. So is it possible that prior to September 29'n of this year. you deletefl ce1!4!1
                   electronic informal.ion?
                   A. Yes.
                   a. And prior to Sieptembe:r .29'n of this year. is it also possible that yor.r de[ete<l
                   gertain posts from any socizrl rnedia accounts?
                   A. I believe that's_possible_.
                   Q. Is it your testimony that you first became aware of the need to preserve erlectronirr
                   information when tlhe September 29" Order came out?
                   A. I believe so.

   Id. at 45: 17-48:12 (emphasis added). When a.sked what "reasonable inquiry" or "investigation"             hr3



   undertook, Dixon testified that he "went through my text history tha.t I had, my sooial media t)iages

   that   I use." Id. at 5l:10-52:5. He further said that he did not believe he made inqluiries                or

   investigation to look for documents, prior to tlne end of September or early October. [d. at!i2:20-24.

   Dixon further testified that he took "twerrty', thirty minutes" to look for text nlessagesi aftr:r         hre



   became aware of the Court's order, and "roughly the same       time" loolcing for socialmedia      a"ccounls,.
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    Id. aI 54:4- l6; see also id. at 7 5:7 -16 ("twenty-five minutes"). And,, to the best of his recollection,

    he made no search of any electronic device pri.or to the issuance of the     Court's Order, id. at t:i4:l',t -20,

    and he did not believe he did anything elser to search for electronLic documents, other thal two

    twenty-five minute blocks of time, id. at75:13-16. He further testified: "I do not believe there is

    anlthing relevant to the cases at hand." Id. ar 55:23-56:3:       see also fliscussion   at   65 9-71.,6.




           Dixon, in his October 13, 2.021 Supplemental Certification, a.lso stated, arnong oth,er things.

   "... I certi$'that I maintained   a   Facebook account underthe user name, 'stevie Joe' until I deactivaterl

   or deleted that account approximately 1 Yz yearc ago, and I currently' maintain a Facebool; accrrunt

   under 'Sepp Stephens."' See Exhibit          "K;".4g{   see "Sepp Stephens" Facebook page, at       Exhibil "O'''

   to the Certification of Counsel. Dixon further testified that he changed his Facebook account fiom

   "Joe Dixon" to "Stevie Joe" whenL he became a police officer. Id. aI7 6:7 -25 .

           Critically, Dixon testified that he deleted his "stevie Joe" Facebook account "around atrout"

   April of 2020, though he was already aware of the Capps lawsuit in May of 2019. Id. aIi'7:1\-22.

   His stated reason for doing so does not emerge as credible:

                   Q. So what was the reason that you deactivated the account after knowing aLbouLrl tlx:
                   existence of the litigation against you?
                   A. Mental health.
                   Q. When you say mental health, what do you mean by that?
                   A. I was tired of seeing articles shared about me. So I decided to take a brealk.

   Id. at77:24-78:6 (bold added). This explanation is questionable at lbest when the Court consiL,Jers

   that Dixon was seeing articles through both his Facebook account and generally on the internet. Ll.

   at78:20-24. Dixon's testimony continued as follows:

                   Q. Were there any other reasc)ns you decided to deac;tivate the Stevie .loe aLccountl)

                                                            10
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                     A. No.
                     Q. Just mental health?
                     A. Conect.
                                                     **x<
                     Q. Do you disagree  at all in te:rms of the time frame about when you deactivaterj the
                     Stevie Joe account approximately, let's say, April of,2020?
                     A. I would say that's an approximation but a correct one.
                     Q. What kind of articles were you seeing?
                     A. About my arrest.
   Id.at78:7-11,78:25-79:6. BecausearticlesatroutDixon'sarrestandprosecutionwere(anclstiltare)

   available on the internet, taking a break and d,eactivating a Facebook account he had during his time

   as a   police officer would not have solved the problem. The content is out there.

             Curiously, Dixon also certified in his lCctober 13,2021Supplemental Certification that,, "ln

   the course   ofthis litigation, I have attempted trl recover the prior Facebook account and, learneitthat

   the account has been deleted permanently." See Exhibit      "K";   and see generally id. at 81 :l -84:15   for

   testimony on efforts Dixon allegedly took to contact Facebook. This attempt to recover his Facebooll

   account, Dixon testified, was a separate eflbrt from the two blocks of twenty-five minutes he

   previously described in which he looked for e.lectronic information. 10121121 Dixon Dep. at 79t:17-

   80:4. He claimed that, when he "found out that social media was admissible," he attempted                  tcr


   recover the Facebook account agai4. Id. at 80:13-14 (emphasis added). But when asked when was

   the first time he tried to recover his "stevie Joe" Facebook account. he testified: 'oApproximatell'

   eight, nine months ago." Id. at 80::15-21.

            Yet earlier in the same deposition Dixc,n testified that he did not know he had to preserve ESll

   until the Court's September 29,2A21Order v"as issued:

                    Q. At the time that the lawsuit. was filed in or about \4a), 1" of 2019. were you ever.
                    aware of the need to preserve electronic informationi'
                    A. I was not.


                                                      il
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                        Q. At an)'time   since the lawsuit was filed. are )rou aware generall), of th.e need to
                        preserve electroni(: information?
                       A. I am now.
                       Q. When did you become          aware?
                       A. When the social media was ordered.
                       a.       what'
                       A. I believe )zou said September 30'h.
    Dixon's testimony, with respect, is inconsistent at best, and troubling at worst. If Dixon                           wasi not

   aware of the need to preserve ESI until Septernber 30,2021, why would                  hLe    separately go l<Loking to

   see   if he could reactivate his "steriie Joe" Fa,;ebook account eight or nine months before:,

              As part of a follow-up article, NJ.com made inquiry of Defenclant Chief Farabella                   thLe   day the

   Capps lawsuit was filed, and askeclabout Dix,on's public Facebook p,ostings regarding:                        (l) Dixrtn's
   alleged concern about Islam and \4uslim imrnigrants destroying the United States; and (21) a'.2016

   posted video of      a   peaceful arrest in Florida with the writing "You dorr't get shot or 'assaultt,:d' vl,herr

   you shut your mouth and use your ears and comply." See Exhibit "P"              1.o   the Certification of Counsel.

   NJ.com also noted in an article on November 20,2019 after the entry of Dixon's guilty pleas that

   Dixon's Facebook's privacy settings were chianged about three weel<s a[ter NJ.conn reached out 10

   Dixon about his posts, but the porsts were no longer visible. A colpy of the November                            ",:,!.0,
                                                                                                                               i|01t,

   article is attached as Exhibit "Q" to the Certification of Counsel. When asked whether                                 it    wzu;


   possible that he posted content described in the NJ.com inquiry, Dixon said,                   "l'd   say   it's possible,"

   as to   "both the reports." I0l2ll27 Dixon Dep. at 98:22-100:15. He rllaimed, however, thert he                              was;


   not sure   "if   the verbiage is correct." Id. at 10,0:17-18, 101:22-23,107:16-22; and;;ee ggnerall)1id

   at 98:14-107:22. Indeed, being able to check on the "verbiage" mig,ht                 still   be posr;ible had DixonL

   not affirmatively and intentionally deleted the electronic information            -    during litigation.




                                                             t2
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              F.     Itis Now Unclear Whether Dixon Will Even Turn Over
                     the ESI he Did Not Manage to Already Delete.

              Following the November lL3, 202 l deposition of Offi cer Bryan Orndorl, one of Dixon' s co-

    defendants in the Capps case, and not on the ,Ceposition record, therr: was discui;sion with regaird      trc


    the production of documents by December 1li, 2021.            At that time, and based on Dixon's testimon'y

   at his Octob er 21,2021 ESI deposition,        Plaintiffs made inquiry whether Dixon would be submitting

   his cell phone or the "cloud" version of his crlll phone data for examination. On Dixon's behaLlf,          ra



   reluctance to doing so was expressred, together with concerns for whether Plaintifls were entitlcd to

   ESI materials, and together with a desire to re-read the Dixon ESI deposition transcript. ,1e9 CertiLl-

   of Counsel,par'.20. Dixon's position to not turn over his data * if that ultrimately remains his

   position   - misses    the point: There would be no reason for a court to order the taking of a deposition

   to determine the existence and sources of ESII and then not allow aparty to thereafter conduc:t           zrn


   examination of the datathat may a.ctually stillt exist. Separate and aprart from ttre data that may still

   exist, discussed below, there clearly is ESI      thLat   no longer exists.

                                          IIII.   LEGAL ARGUMENT

           A.        The Standards Under Federal Rule of Civil Procedure 37(e).

           The federal rules have established a liberal system of discovery "meant to insure that            n<r


   relevant fact remain[s] hidden." Crawford v. Dominic, 469 F. Supp. 260,|262 (li.D.Pa. 1979)

   (Pollak, J.). Spoliation, however, is "the destruction or significant alteration of'evidence, or tht:

   failure to preserve property for another's use as evidence in pending or reasonerbly forsee,able lsic]

   litigation." Mosaid Techs. Inc. v. Sa sung Eleics. Co., 348 F.Supp .2d332,335 (D.N.J .2004).         Wlherrt:


   aparly spoliates evidence, courts have the discretion to impose sanctions. Id.




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            "Until recently, district courts in the'fhird Circuit relied on lboth the Federal Rules of Civil

    Procedure and the inherent authorjity of the cc,uft in imposing sanctions for spoliation of arLy kind          of

   evidence." Bistrian v. Levi, 448 F.Supp.3d 454, 464 (8.D. Pa. 2020). "In 2015, however', Fecleral

   Rule of Civil Procedure 37 was amended          t"o   provide a uniform rstandard governing           rspoliaLtion


   sanctions for the loss of electronically stored information." Id. "Prior to the 2015 arnendment, courts

   applied the Third Circuit's general spoliation test to both ESI and otherr information." Id. at '165 n.14.

   Since 2015, some district courts within the ThLird Circuit have continued to apply         tnre   Third Circuit's

   general test to determine whether spoliation or;curred while applying Rule 37(e) in conside:r:ing ivhat

   sanction is appropriate, and others lhave relied exclusively on Rule   37 (,e). See   id. "Although the    llhird

   Circuit has not specifically clarified this issue, it appears that Rule 37(e) exclusively           go,r'/ernsi the


   spoliation inquiry, while both Rule 37(e) an<l the Third Circuit's or,vn three-factor test govern tht:

   sanctions   inquiry." Id. Accordingly, "[w]here the amended rule applies, it provides the exclusivt:

   remedy for spoliation of electronically stored information ('ESI'), foreclosing reliance on the courl's

   inherent authority." Id. (citation ornitted).

           Rule 37(e) specifically provides as follows:

                   (e) Failure to Preserve Electronically Stored Information. [f electronically storecl
                   information that should have been preserved in the anticipation or conduct of
                   litigation is lost because a paflly failed to take reasonable steps to preserve it, and it
                   cannot be restored or replaced through additional discovery, the court:

                           (I      finding prejuclice to another party from loss of the infbrma"l.ion, ma;r
                                ) upon
                           order measures no greater than necessary to cure the prejudice; or

                           (2) only upon finding that the party acted with the intent to deprive another
                           party of the information's use in the litigation may:

                                     (A) presume that the lost information was unfavorable to the party;



                                                         t4
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                                        (B) instruct the jury that it may or must presume the infiormation was
                                        unfavorable to the party; or

                                        ( C) dismiss   thLe   action or enter a defaLult judgment.

    Fed. R. Civ. P. 37(e). The Advisory Committee's notes to the 2015 amenriment fiurther explain the

    elements of spoliation     of ESL   FoT a courl to make a       finding that strroliation occurred, the moving

   pafiy must show that   (I   ) the ESI should have lbeen preserved in anticiipation or conduct of litigar.ion;

   (2) the ESI was lost; (3) "the information was lost because the party failed to take rearsonable steps

   to preserve" it; and, (4) because IISI "often exists in multiple locations,            " spoliatiorr   occurs onl:y

   where the information is truly lost and not cannot be recovered els;ewhere, restored. or replaced.

   Fed.R.Civ.P. Advisory Committee Notes, Fed.R.Civ.P. 37; Bistria.n, 448 F.Supp.3d at 465 n.14.

   Upon finding that spoliation has occurred, the courl must then determine what sanction(.s) to impose.

   Rule 37(e)(l) and Rule 37(e)(2) provide a framework for determining the appropriate sa.nction frrr

   spoliation of ESI. A court may resort to (e)(1) measures only upon finding prejudice to another              pr311,,r



   from the loss of the information. Iied.R.Civ.I'. Advisory Committee Notes, Fed.R.Ci.rz.P. 37.

           With respect to Dixon's Iracebook           p,osts, the prejudice    to Plaintiffs is plairL. During, his

   deposition, Dixon admitted genera.lly that he posted items alorrg the lines suggested in the NJ.co,m's

   reporter's inquiry, but he quibbled with the "v'erbiage." The only way to know the exar;t "verbiage"

   he used is to be able to see the actual posts, and others like         them. H.owever, according to Dixon'ls

   deposition testimony, and the allteged efforts he made to reactivate his "stevie Joe" F'acebooli

   account, those posts, and anythinS; else that rnight have been reasonably calculated to lead to thc:

   discovery of admissible evidence, are lost.




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            With respect to Dixon's allleged 2016 post reflective of his attitude on the use of           1b,rce,   being

    able to see this post, and other sirnilar posts, goes directly to Plaintiffs' mtrnicipal          liability   anLd/or


    supervisory liability claims. As stlated in the Capps Second r\mended Complaint:

                      228. But in a chililing foreshadowing of what was on the horizon, Inlemal AfFairs
                      observed in February of 20lti that, although Dixon's excessive force complaints
                      resulted in findingsi of "exonerated" or "unfounded," he was still showing ia pattern.
                      Defendant Chief lreLrabella in I\4arch of 2016 concurred with a recommendation madr:
                      by the Cumberland County Prosecutor's Off,ice's Clhief of Deter;tives and by' thr:
                      Millville Police Department's orvn Internal Affairs lJnit that Dixon should be sent
                      to a training cours,e called "Ve.rbal Judo" due tc, the excessive force comrplaints made:
                      against him in a two-year period.

                      229. There were three Millvil.le officers sent 1.o that mere four-hour "'Verrbal .Iudo"
                      training session in i2016. Two of them were Dixon and now-former Mill,rille Pglioe
                      Officer Jeffrey Prrc,fitt, who will be further rrLentioned in the T'hird Count of thiri;
                      Second Amended Complairrt.

                      230. Defendant Chief Farabella, who was, as he adrnitted, the person irr charge of
                      Internal Affairs and in the mnning of the Millville Pc,lice Department, in ultimaLtell'
                      recommending strch a lax mernsure in the face of a pattern of excessive ftlrce, wiu,;
                      sending a clear mr3sisage to tkre Supervisory De.[endants and to the MPDr's officers iirr
                      general that excesrsive force would be tolerated and that no serious disciplirrarl,
                      measures would tre, taken.

                      231. The City of Millville's c,wn documents conclusively establish that Defenrlant
                      Chief Farabella knr:w about Dixon's pattern o1'excessive force one year and several
                      months prior fsic I the Barry C]ottman incident in June of 201 7 , aruL a f[rl[ two years;
                      before the Capps and Joyce incidents in Februzrry and March of 2018. llhey were on
                      notice.

   Second Am. Compl., at pars. 228-231, Dor:. No.                 58.   These allegations, based on ,Cocument$;

   produced in discovery by the Cit'y of Millviller, suggest that in the sarne year Dixon wa.s making his;

   publicly available Facebook post reflecting his attitude on the use of fbrce, various other Deflendants;

   in this case were already aware that he was showing        a   pattern. ln light of this observed and iclentifie:cll

   oopattern,"
                 Defendants should have been super.uising Dixon more closr:ly. Not only would such postrii




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    reflect negatively on the Millville Police Department as a law enforcement organizatiorr,, but they


    would   -   or should   -   have triggered actual dis<;ipline in order to stem the tide of Dixon's    usirt   sf fil1..

    before he really injured someone.- which, 01'course, he eventually            did. In addition, as il result of
   Dixon's deletions oftext meSS?go history, Plaintiffs have lost the abiltity to recover communications

   Dixon may have had with other nrembers of the Millville Police Depiartment about the              facrts of tlhese

   pending civil cases. Notwithstanding Dixon's expected assertion 1.hat he never had any relevant

   communications with anyone about anlthing,, it is worth rememberiing that, "No discovetry rulle in

   the Federal Rules of         Civil Procedure   requiresr that aparty accept, without seeking corrobr:rrating or

   impeaching evidence, its opponernl's version of the facts." Tesser v. Iloard of Educ.,          15;4   F. Supp.2d

   388,395(E.D.N.Y.2001). One<11'themainreasonsfortakingdisco,reryistotestthevera.r;ityc,fan

   opposing party's assertions madr: in litigation, not just accept them iat face value.

            Subdivision (eX2) of Rule 37, on the other hand, does not include a requiremenLrt that the

   court find prejudice to the party deprived of the information. Id. This is because "the finrling of intent

   required by the subdivision can support not only an inference that the lost informaiion was

   unfavorable to the parly that intentionally destroyed it, but also an inllerence that the opposing party

   was prejudiced by the loss of inf,crmation that would have favored its position." ld. Clourts should

   exercise caution, however, in ur;ing the meaLsures specified in (e)(2)." Id. "Finding an intent                      l.cr



   deprive another party of the lost rinformation,Coes not require a court to adopt any of           1.he rneasures


   listed in subdivision (e)(2)." Id.

            B.       fteSlaullAdulU:SgnClroui Under Federal Rule of Civil                   Procedurre,li7(e),,

                In determining what        sanctions   to impose, courts are guided by the Third              Circuit's

    three-factor test in Schmid v. Milwaukee Elec. Tool Corp., 13 F.3c[ 76,79 (3d Cir. 1994). Under


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    the Schmid tlest, courts conside.r, "(1) the degree of fault of the party who alterecl or de56,.,r",1,n"

    evidence; (2) the degree of preiurdice suffer:ed by the opposing party; and (3) whether thLere is a

    lesser sanction that   will avoid   surbstantial unlairness to the opposing party and, where the offending

    party is seriously at fault,   will   serve to deter such conduct by others in the future." Id.

            As the district court in !)istrian, supra, also observed:


                     A party "is under a duty to prrlserve what it knows, or reasonably should know, will
                    likely be requesteclin reasonably foreseeable litigation." This comrnon-lav,r stanrlard
                    is an objective one, asking not whether a pafty actually anticipatted litigaLt.ion. but
                    "whether a reat;c,nable party in the same factua.l circumstances would have
                    reasonably foreseen litigation." The "reasonably firreseeable" test "is ia flexible
                    fact-specific starLdard that allows a district court to e>rercise the discretion necessary
                    to confront the myriad factual situations inherent in the spoliation inquiry." It
                    requires something nLore than the "distant possibility" of litigation, but itld.oesr not
                    require that litigation be "imntinent, or probable without significarrt contirqgencries."

                    The duty to prese:r've auises     later than when a lawsuit is filed but may be rtriggered
                                                     no,
                    earlier than the filing of the complaint depending on the particr.rlar circurnstanLces.
                    There is no sing,le bright line that definitively marks when litigation reasonably
                    should be anticipated. Instead, courts consider a variety of factors, incluLdintrg the type
                    and seriousness of'the injury; how often similar kinds of incidents lead to 1[iLtigalion;
                    the "course of corLduct betweren the parties, including past litigation or tlhLr,eatcned
                    litigation"; and v'rhat r;teps both parties took after the incident and beftrre the loss of
                    the evidence, inr:luding wherther the defendant initjLated an investigaLtion jinto the
                    incident. When il party argues that spoliation occumed before the comprlaint was
                    filed, the court nrust conduct a fact-sensitive inquiry to determine at urhat point the
                    spoliating party reasonably should have anticipated the litigation.

    Id., 448 F. Supp.3d at 468 (footnoter; omitted).

            Under Rule 37(e), rnoreo\/er, spoliation warrants an adverse, inference only if a pia.rty acted

    "with the intent to deprive     anothLer   party of'the information's use in the litigation"---i1, in other

    words, the spoliating party act,sd in. bad       faith. Id.,   448 F. Supp.3d at 475 (footn,rte ornitted).

    Because courts are unable to "examiLne [a party's.l head" to "confirm fwhether they] acted in bad




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    faith," courts look to circumstantial evidence,to determine intent. Id, (footnote omitted). The tirning

    of the destruction can be     a   factor. Id. (footnote omitted). So can the rnethod of deletion---automatic

    0verwriting is generally less culpable than affirmative deletion, which in turn is tress culpable than

    taking additional steps to erase back.up copies. Id. (footnote omittrld). Selective preservation, con

    also reflect   intent. Id. at 475-76.

            In Bistrian, the district court found that circumstantial evidence of intent was relatively

    weak. ld. at 476. In that case, a hallway video in connection with a prison assault                      was

    automatically overwritten, not affirmatively deleted, and there was no indication that most of the

    prison staff were actually subjectivel] &w?re that litigation was likely within a short overwriiting

    window. Id. The court there stated that it was unable to find that the United States acted with irrtent

    to deprive plaintiff of the hallu,ay video, and therefore the court would not draw an               advense

    inference. Id. at 478.

            The case of Mood), v. CSX Transp.. lnc., 271 F. Supp.3d 410, 431 (W.D.N.Y. 2017) is

    further instructive. That case involved atra.in accident where the rJefendants' foreman uploaded

    data from the incident onto a laptop and then purportedly uploaded the data onto a backup server.


    The data was not properly loaded onto the backup server and ,was eventually lost when the

    foreman's laptop was recycled by the defendants. Given the importance of the evidence, the district

    court held that the defendants' conduct was "so stunninslv derelict as to evince intentionalitv." Icl..

     27lF .Supp.3d    at   432.The district court conr:l"d"d rh";;adverse instruction would approprieLtely

    address the evidentiary gap caused by defendants' loss          of such matr:rial evidence. Id.

           In this case, Defendant Dixon was, as early as the service of the May 25,2018 Capps tort

    claim notice, aware of possible (if not likely) litigation involving his conduct of excessive         f-crrce.



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    See, e.g.,   Zhangv. City of NeuYork, No. l7-cv-5415 (JFK) (OT'W) (S.D.N.Y.             ArLrg.   ll0, 20tg)

    (finding defendants' duty to preserve arose rvhen plaintiffs filed their Personal Injury Claim Fonn,

    providing explicit notice of a forthcoming death and medical malpractice lawsuit), Exhibit "R', to

    the Certification of Counsel. Arrd to sumrnarize, there are several overarching themes from the

    Dixon ESI deposition, and the procedural events leading up to it, u'hich warrant the iimposition of

    harsh sanctions here;



                            In additior:Lto the May 2018 tort claim notice, Dixon was awarerol't,he Capps
                            lawsuit irr early May ,of 2019;

                            Plaintiffs' discovery requests from october of 2019 and re-sent irL January
                            of 2020 s;o'ught Dixon's ESI, social media and electronic communications
                            with Defendants orndorf, chief FarabellaL, and other mernbers of the
                            Millville   P'olice Department;

                             Dixon testified that it was possible that he rleleted some 1.ext messages to
                            and from other Millville Police Department employees from Ma1, i, 2019
                            to the pre:sent;

                            Dixon deleted his Facebook account in approximately       April ot20120, w,hen
                            he was already aware of the Capps litigation;

                            Dixon's sole stated reason for deleting his Facebook acc;ount during the
                            ongoing lit.igation he knew about was given as "mental health";2



           z

   Dixon's testimony that he deleted his Faceb,ook account because c,f "mental hea.lth" effLerges as
   utterly lacking in credibility when the courl considers Edelson v. Cheung, No. 2: l3-cv-58t7}-ILL-
   JAD,20l7 WL 150241 (D.N.J. .Ian. 12,2017). See Exhibit "S" tc, the Certification of (lourLsel.
   There, the district court concluded that defendlant intended to deprive plaintiff of Elil when it found
   thatdefendant's testimonythat he d.eleted e-mails because his computr3rwas acting "sluggisti'lacked
   credibility "considering the timirLg in whicJh he deleted the emails and evider:rce that he was
   attempting to prevent others from reading the communications at issue." Id.,2017 WL 15;024';1, aL
   x4. The Court cannot credit this explanation, particularly in light of t)ixon's false certilication prior
   to his ESI deposition that he did not destroy or alter evidence sought in Plaintiffs' discovery requests.



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                            Dixon's october 13,2021 Supplemental rcertification that, '"I have not
                            purposely or intentionally altered or desftoyed any materirals r;ought in
                            Plaintiffs'Request for Production of Docunlents" is clearly not true;

                     *      Dixon claimed that tlhe first time he became aware of the need to presierve
                            ESI was just weeks ago at the end of September 2021 wherr the Court
                            entered an Order, yet he went looking for his old and rleleted Facebook
                            account eight to nine months earlier; and

                            Finally, if Dixon is atleast telling the truth 1.hat some ESI - ESI hLe did not
                            already clelete - was preserved when he switched from an iPhoner 10 to an
                            iPhone 13 (after the isisuance of the Court's [iSI depositiorr Or<ler), then that
                            phone or cloud database should be available for inspection.

             Simply put, this is not a case about anorganizational overwriting policy             tha1.   sornehow might

    lessen   Dixon's culpability, or about someone just being "stunningly derelict" fcrr not properly

    loading ESI onto a back-up server. Dixon engaged in affirmative, intentional deletion of social

    media information and records of communications while litigation was pending.



                                             VI.   CONCLUSION

             Under Federal Rule of Civil Procedure 37(a)(5XA), when a discovery motion                         irs   granted

    pursuant to Rule 37 , the Court must "requirr: the party ... whose conduct necessitate,C the morlion,

    the party or attorney advising that conduct, or both to pay the movant's reasonable erKpenses, incurred


    in making the motion, including; zrttomeys'    fe:es.   " Plaintiffs   make   suLch a   request for atttorney's fees

    and costs involved in connection with what has been a sisnificant and labor-intensive effort to

    discover the extent of Dixon's misconduct, and Plaintiffs reserve the right to subrmit an appropniate

    fee petition at the Court's direction.

             Yet in terms of non-monetary sanctions, severe sanctions are warranted. Dix,cn, rvho is on

    probation for criminal convictionLs stemming from his assaults on I'laintiffs Capps arrd Joyce. has




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    not learned liom that experience. In these civil actions, Dixon responded to written discovery with


    objections and limited informatic,n, and declined to make any effort to provide LISI. To date, he has

    provided no documents. And Dixon's initial, certified discovery responses are nearly irrorthless,

    and reflect that he failed even to rnake the most basic effort to reproduce the questions beiLng arsked

    of him in the   same documents containing his responses. This,                in and of itself, reflects     an

    unacceptable laissez-faire approach to a party's discovery obligations.

            But when Plaintiffs brought to Deferrdants' attention this        paLst   summer that their cliscovery

    responses and production were deficient,          Dixon doubled down. He provided an urLcertified

    response, and continued to take ttre position    1.hat   ESI was not discov,erable. At one of the telephone

    conferences the parties participated in      with the Court, the Court made clear that ESI was, in fact,

    subject to discovery,   it   ordered Dixon and others to provide certihed supplernental cliscovery

    responses, and it ordered that   Dixon's deposition regarding ESI and social media to be takern. Then,

    following the conclusion of another deposition in this case, it was maintained on Dixon's behalf

    that Dixon's phone or cloud information for: what ESI may still rernain on his phone              will   nc,t be

    turned over by December 15,2021          -   unless Dixon now decides to change his position in the

    interim. But that is where the parties left it following the Novernber 23,2021 Bryan Orndorf

    deposition.

           Dixon has obstructed discovery at every possible opportunity, not just by doing as little             as


    possible to respond, and by providing no documents whatsoever, but also by affirmatively deleting

    discoverable information during pending          litigation. Indeed, the cleletion o1'the "stevie         .[oe"

    Facebook account occurred after Plaintiffs propounded discovery requests in October2019 and re-

    sent them again in January of 2020. What is rnore,         Dixon's October 21,2021deposition testimony


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    demonstrates that his October 13,2021 Sup,plemental Certification that,                  "I   harze not purposely             or

    intentionally altered or destroyed any mate,rials sought in PlaintilTs' Request for Production of

    Documents," was simply not true. A comparison of what Plaintiffs sought in discovery                           ar;   far lback

    as October 2019        with what Dixon testified to deleting helps to connect the dots. Also driving home

    the point was      l)ixon's inconsistent testimony on his awareness of the duty to preserve ESI. Dixon

    would have the Court believe that no one advised him of the obliga.tions to looli for or to preserve

    ESI until this Court's September '.29,2021Or:der. If true, that shoulcl be troublinlg to the Court. But

    Dixon's testimony on that point is plainly urLdercut by his separate l,estimony that he went loolking

    to try to recover his Facebook account eight or nine months before.

            Ultimately, Dixon has nowhere to go in this litigation. Neither he nor his varrious co-

    defendants, despite       filing numerous and extensive motions to dismiLss earlier in this             case, has,ever

    cited any case law suggesting that apolice c,fficer who has felony erssault convictions                    -    under the

    highest standard of proof (beyondl a reasonabrle doubt) -- for the same assaultive conduct that                        is;   the

    subject of   a   plaintiff s later civil   s,uit,   would be entitled to qualified inLmunity. Drixon surely would

    have alerted the Court          if there wals such auttrority.

           Having nowhere to go, Dixon chose 1.he path of thwarting discovery. It is therefore timLe to

    sanction Dixon by:        (l)   ordering tlhat an adverse inference be read at the time of'trial, thal the.jury

    must assume that the ESI lost was unfavoratrle to Dixon; (2) allowing Plaintiffi; to also introcluce

    evidence at trial on the circumstances surrounding Dixon's destruction of ESI;                  aLnd   (3) enrlerinlg an

    award in Plaintiffs' favor for attorney's feers and costs associated with uncovering the depth                               of

    Dixon's unacceptable conduct in this civil case. Finally, the Court should order lDixon to turn over

    his cell phone or the data cloud equivalent, errcompassing all ESI that has not already been deleted,



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    for a forensio inspection and copying, and assess the costs of doing so against Dixon.




                                                    LOUIS CHARLES SHAPIRO
           A. Michael Barker, Esquire
           Thor4as B. Reynolds, Esquire
           Justirl T. Loughry, Esquire
           Ms. Audra S. Capps and Mr. Douglas Robert Gibson, Jr.
           Ms. Tanika Joyce
